                                                                                    National Settlements Team
                                                                                  The Huntington National Bank
                                                                              650 E. Swedesford Road, Suite 310
                                                                                       Wayne, PA 19807-1600


June 5, 2025

Honorable Stephen R. Bough
United States District Court
Western District of Missouri
Charles Evans Whittaker Courthouse
400 East 9th Street
Kansas City, MO 64106-2635

RE: Burnett et al. v. National Association of Realtors, et al.
    Case No. 4:19-cv-00332-SRB and
    Gibson et al. v. National Association of Realtors et al.,
    Case No. 23-CV-788-SRB


Dear Judge Bough:

I am Executive Managing Director of the National Settlements Team at Huntington National
Bank (“HNB”) and write in response to Your Honor’s May 7, 2025 Order requiring a quarterly
accounting of all fees and charges made to the settlement fund in the above captioned case.
HNB received a copy of this Order from Class Counsel as HNB is not a party in this case and
was not otherwise served.

In response to the Court’s Order, HNB states as follows:

First, HNB’s only involvement in this matter is the provision of banking services as escrow agent
to co-lead class counsel Cohen Milstein Sellers & Toll PLLC, Hagens Berman Sobol Shapiro
LLP, Ketchmark and McCreight PC, Susman Godfrey LLP, and Williams Dirks Dameron LLC
and Boulware Law.

Second, HNB receives no fees or charges, rebates, awards, and/or credits from vendors, nor does
it receive financial benefits from any other banks or non-bank financial institutions while serving
as escrow agent in this matter.

Third, like all banks that hold deposits, including as escrow agent for the settlement fund, HNB
generates revenue by using the escrow deposits as a source of funding for loan originations
through its normal course of business as a bank. The interest rate spread, or net interest margin,
is HNB’s profit margin on deposits.

Fourth, HNB makes no payments, contractual or otherwise, to JND Legal Administration in this
matter, or in any other matter, for the distribution of class proceeds.



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Sincerely,




Christopher W. Ritchie
Executive Managing Director
chris.ritchie@huntington.com


cc:   Cohen Milstein Sellers & Toll PLLC
      Hagens Berman Sobol Shapiro LLP
      Ketchmark and McCreight PC
      Susman Godfrey LLP
      Williams Dirks Dameron LLC
      Boulware Law




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